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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


HUAWEI TECHNOLOGIES CO., LTD.,
  Banxuegang Industrial Park. Buji
  Longgang Shenzhen 518129, P.R.C,

HUAWEI DEVICE USA, INC.,                      Civil Action No.___
  5700 Tennyson Parkway Suite 500
  Plano, TX 75024,
                                              COMPLAINT
      Plaintiffs,

      v.

U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT,
   500 12th Street, SW
   Washington, D.C. 20536,

U.S. DEPARTMENT OF HOMELAND
SECURITY,
   Office of the General Counsel
   U.S. Department of Homeland Security
   2707 Martin Luther King Jr. Ave, SE
   Washington, DC 20528,

U.S. DEPARTMENT OF JUSTICE,
   950 Pennsylvania Avenue, N.W.
   Washington, D.C. 20530,

U.S. DEPARTMENT OF JUSTICE, OFFICE
OF THE ATTORNEY GENERAL,
   950 Pennsylvania Avenue, NW
   Washington, D.C. 20530,

U.S. DEPARTMENT OF JUSTICE, OFFICE
OF THE DEPUTY ATTORNEY GENERAL,
   950 Pennsylvania Avenue, NW
   Washington, D.C. 20530,
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U.S. DEPARTMENT OF JUSTICE, OFFICE
OF PUBLIC AFFAIRS,
   950 Pennsylvania Avenue, NW
   Washington, D.C. 20530,

U.S. DEPARTMENT OF JUSTICE, OFFICE
OF LEGISLATIVE AFFAIRS,
   950 Pennsylvania Avenue, NW
   Washington, D.C. 20530,

U.S. DEPARTMENT OF JUSTICE,
CRIMINAL DIVISION,
   950 Pennsylvania Avenue, NW
   Washington, D.C. 20530,

U.S. DEPARTMENT OF JUSTICE,
NATIONAL SECURITY DIVISION,
   950 Pennsylvania Avenue, NW
   Washington, D.C. 20530,

FEDERAL BUREAU OF INVESTIGATION,
  935 Pennsylvania Avenue, NW
  Washington, D.C. 20535,

UNITED STATES DEPARTMENT OF
STATE,
  The Executive Office
  Office of the Legal Advisor, Suite 5600
  600 19th Street, NW
  Washington, DC 20522,

OFFICE OF THE UNITED STATES TRADE
REPRESENTATIVE,
  600 17th Street NW
  Washington, D.C. 20508,

OFFICE OF MANAGEMENT AND
BUDGET,
  725 17th Street, NW
  Washington, D.C. 20503,

U.S. DEPARTMENT OF COMMERCE,
   1401 Constitution Avenue, NW
   Washington, D.C. 20230,
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UNITED STATES DEPARTMENT OF
TREASURY,
  1500 Pennsylvania Avenue, NW
  Washington, D.C. 20220,

- and -

OFFICE OF FOREIGN ASSETS CONTROL,
  1500 Pennsylvania Avenue, NW
  Washington, D.C. 20220,

          Defendants.
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       Plaintiffs Huawei Technologies Co., Ltd. (“Huawei Tech”) and Huawei Device USA Inc.

(“HDUSA,” and together with Huawei Tech, “Plaintiffs”), by and through their attorneys, hereby

allege as follows for their Complaint under the Freedom of Information Act (“FOIA”) against

Defendants Immigration and Customs Enforcement (“ICE”), United States Department of

Homeland Security (“DHS”), United States Department of Justice (“DOJ”), DOJ Office of the

Attorney General, DOJ Office of the Deputy Attorney General, DOJ Office of Public Affairs, DOJ

Office of Legislative Affairs (together with the aforementioned DOJ Offices, “DOJ Leadership”),

DOJ Criminal Division (the “Criminal Division”), DOJ National Security Division (“NSD”),

Federal Bureau of Investigation (the “FBI”), United States Department of State (the “State

Department”), Office of the United States Trade Representative (“USTR”), United States

Department of the Treasury (“Treasury”), Office of Foreign Assets Control of the United States

Department of the Treasury (“OFAC”), United States Department of Commerce (“Commerce”),

and Office of Management and Budget (“OMB”):

                                 NATURE OF THE ACTION

       1.      This is an action under FOIA, 5 U.S.C. § 552, for injunctive and other appropriate

relief to compel the expedited release of documents Plaintiffs requested from the Defendant

agencies and/or their components more than one year ago. To date, Plaintiffs’ requests have been

met with a remarkable degree of stonewalling—conduct that is wholly inconsistent with FOIA’s

policy of promoting government openness and transparency, as well as FOIA’s express

requirement that agencies generally must act within 20 business days of receiving a request for the

release of documents. Here, Defendants have failed to issue a determination regarding nine of the

twelve FOIA requests that are the subject of this lawsuit, despite having received those requests

more than one year ago. As to the three remaining requests, Defendants have responded in a
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wholly inadequate fashion. Only one Defendant has produced any documents at all, and its

production consists of a grand total of eleven redacted pages. Whether a product of design or

neglect, Defendants’ broad refusal to comply with their FOIA obligations is unacceptable.

       2.      At issue in this case are twelve distinct but substantively similar FOIA requests

directed at each of DHS, ICE, DOJ Leadership, the Criminal Division, NSD, the FBI, the State

Department, USTR, Treasury, OFAC, Commerce, and OMB. The requested documents relate to

the United States’s investigation into and prosecution of Plaintiffs and Huawei Tech Chief

Financial Officer Meng Wanzhou, trade relations between the United States and China, and

competition over the development of 5G technology. The requestors, Plaintiffs here, are Huawei

Tech, a privately held Chinese limited liability company that is one of the world’s largest providers

of telecommunications equipment, and HDUSA, a U.S. affiliate of Huawei Tech.

       3.      Plaintiffs have made numerous efforts to facilitate Defendants’ prompt and efficient

processing of their FOIA requests. In response, many Defendants simply ignored Plaintiffs’

outreach. Those that did respond refused to conduct adequate searches (or in some cases, any

searches at all), failed to produce responsive records, and relied on blanket applications of FOIA

exemptions asserted without any meaningful explanation.

       4.       Defendants’ failure to comply with their FOIA obligations is particularly troubling

given the U.S. government’s open commitment to “combat[ting] Huawei’s dominance” in the

market for 5G technology and its repeated singling out of Plaintiffs for adverse treatment.1




1
  Eamon Javers, Trump Official Compares Huawei to ‘the Mafia’ as White House Works on 5G
Battle Plan, CNBC (Feb. 25, 2020), https://www.cnbc.com/2020/02/25/trump-official-calls-
huawei-mafia-as-white-house-works-on-5g-battle-plan.html; see also Alyza Sebenius, U.S. Tries
to Freeze Huawei Out of Europe with Court Argument, Bloomberg (Apr. 9, 2019),



                                                 2
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       5.      For example, in 2018, Congress effectively debarred Huawei Tech and its corporate

affiliates (collectively, “Huawei”) by forbidding U.S. government agencies not only from

purchasing specified Huawei equipment and services, but also from contracting with or awarding

grants or loans to third parties who purchase or use such equipment or services.2

       6.      More recently, in 2020, Commerce created a special Huawei-only export control

rule that dramatically extends the reach of U.S. regulatory jurisdiction over products manufactured

overseas using U.S. software and technology, and seeks to constrain the overseas transfer of such

products to Plaintiffs and their non-U.S. corporate affiliates.3 In issuing this rule, which does not

apply to any other company, Commerce admitted that its intent was to “narrowly and strategically

target Huawei’s acquisition of semiconductors,” which are essential components for developing

5G technology.4

       7.      Moreover, there are signs that the government is seeking to use the criminal charges

against Plaintiffs and Ms. Meng to advance policy objectives unrelated to the evenhanded

administration of criminal justice. In particular, President Trump’s extraordinary statements

indicating that he would intervene in the criminal case against those parties for the benefit of U.S.




https://www.bloomberg.com/news/articles/2019-04-09/u-s-tries-to-freeze-huawei-out-of-europe-
with-court-argument (“The U.S. is engaged in a global campaign to keep Chinese tech companies
out of advanced 5G networks promising faster connections, enabling uses such as autonomous
vehicles and remote surgery.”).
2
  See John S. McCain National Defense Authorization Act for Fiscal Year 2019, Pub. L. No. 115-
232 §889, 132 Stat. 1636 (2018).
3
  See 85 Fed. Reg. 29, 849 (May 15, 2020).
4
  Commerce Addresses Huawei’s Efforts to Undermine Entity List, Restricts Products Designed
and Produced with U.S. Technologies, U.S. Dep’t Com. (May 15, 2020),
https://www.commerce.gov/news/press-releases/2020/05/commerce-addresses-huaweis-efforts-
undermine-entity-list-restricts.



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trade interests suggest that the prosecution is being used as leverage in the U.S. government’s

ongoing trade dispute with China.5

       8.      President Trump’s statements are not the only indication that the investigation and

prosecution of Plaintiffs have been undertaken as a trade negotiation tactic. The indictment was

presented as the sole justification for Huawei Tech’s 2019 inclusion on Commerce’s Entity List—

a list of foreign organizations that are banned from receiving goods that are manufactured in the

United States or otherwise subject to U.S. jurisdiction, unless the shipper receives a government

license permitting the export.6

       9.      Likewise, in a November 13, 2019 letter to the Chairman of the Federal

Communications Commission (“FCC”), Attorney General William Barr cited his own

Department’s allegations against Plaintiffs as a reason for the FCC to ban the use of certain public

funds to buy Huawei products.7

       10.     Government records subject to disclosure under FOIA that Plaintiffs have requested

may thus reveal that the government’s avowed interests in economic “supremacy”8 improperly

influenced the decision to prosecute Plaintiffs and Ms. Meng.




5
  Betsy Klein & Ben Westcott, Trump Expresses Openness to Using Huawei CFO as Bargaining
Chip        in       China       Trade      Talks,     CNN         (Dec.      12,     2018),
https://www.cnn.com/2018/12/12/politics/trump-china-huawei-cfo/index.html.
6
  See 15 C.F.R. § 744.16 (2019).
7
   Letter from Att’y Gen. William P. Barr to the Hon. Ajit Pai, Chairman of the Federal
Communications                  Commission            (Nov.              13,          2019),
https://ecfsapi.fcc.gov/file/11130351518674/Attorney%20General%20Letter%20FCC%20Docke
t%2018-89.pdf.
8
  Anna Fifield, Huawei Reports Record Profits Despite U.S. Pressure Campaign, Wash. Post
(Mar. 29, 2019), https://www.washingtonpost.com/world/huawei-reports-record-profits-despite-
us-pressure-campaign/2019/03/29/b531043a-5207-11e9-a3f7-78b7525a8d5f_story.html.
                                                 4
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       11.     Regardless of what Defendants’ records may ultimately reveal, Defendants’ pattern

of non-cooperation and non-engagement is fundamentally at odds with the regime of transparency

and accountability that is the cornerstone of FOIA. Defendants are required to disclose non-

exempt documents or reasonably segregable non-exempt portions thereof.

       12.     Further, Defendants were required to produce the requested records on an expedited

basis, which they have not done. The requested records are the subject of widespread and

exceptional media interest. They also raise questions affecting public confidence in government

institutions, including whether the U.S. government is wielding its prosecutorial power against

disfavored parties to advance policy or even political objectives. Defendants’ regulations provide

for expedited processing of FOIA requests under precisely these circumstances. Yet, Plaintiffs’

requests for expedited treatment were denied without valid justification.

       13.     Defendants’ across-the-board failure to respond adequately to Plaintiffs’ FOIA

requests, much less accord them the expedited treatment to which they are entitled, leaves

Plaintiffs no practical option but to seek judicial intervention.

                                 JURISDICTION AND VENUE

       14.     This Court has jurisdiction over this case under 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C § 1331.

       15.     Venue is proper under 5 U.S.C. § 552(a)(4)(B).

                                             PARTIES

       16.     Plaintiff Huawei Tech is a global networking, telecommunications services

company headquartered in Shenzhen, Guangdong, in the People’s Republic of China. It is a named

defendant in United States v. Huawei Technologies Co., Ltd., et al., 18-CR-457, a criminal

indictment brought by the United States Attorney’s Office for the Eastern District of New York



                                                  5
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(“EDNY”), the Criminal Division, and NSD. Huawei Tech is a “person” within the meaning of

5 U.S.C. § 551(2).

       17.     Plaintiff HDUSA is a distributor of communication products headquartered in

Plano, Texas. It is a United States affiliate of Huawei Tech and is also a named defendant in the

above-referenced criminal proceeding. HDUSA is a “person” within the meaning of 5 U.S.C.

§ 551(2).

       18.     Defendant DHS has possession or control over the records Plaintiffs seek in their

FOIA requests to DHS and ICE.

       19.     Defendant ICE is a component of DHS. ICE has possession or control over the

records Plaintiffs seek in their FOIA request to ICE.

       20.     Defendant DOJ has possession or control over the records Plaintiffs seek in their

FOIA requests to DOJ Leadership, the Criminal Division, NSD, and the FBI (collectively, the

“DOJ Component Defendants”).

       21.     Defendant DOJ Leadership is made up of components of DOJ. DOJ Leadership

has possession or control over the records Plaintiffs seek in their FOIA request to DOJ Leadership.

       22.     Defendant Criminal Division is a component of DOJ. The Criminal Division has

possession or control over the records Plaintiffs seek in their FOIA request to the Criminal

Division.

       23.     Defendant NSD is a component of DOJ. NSD has possession or control over the

records Plaintiffs seek in their FOIA request to NSD.

       24.     Defendant FBI is a component of DOJ. The FBI has possession or control over the

records Plaintiffs seek in their FOIA request to the FBI.




                                                 6
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       25.     Defendant State Department has possession or control over the records Plaintiffs

seek in their FOIA request to the State Department.

       26.     Defendant USTR has possession or control over the records Plaintiffs seek in their

FOIA request to USTR.

       27.     Defendant Commerce has possession or control over the records Plaintiffs seek in

their FOIA request to Commerce.

       28.     Defendant Treasury has possession or control over the records Plaintiffs seek in

their FOIA request to Treasury and OFAC.

       29.     Defendant OFAC is a component of Treasury. OFAC has possession or control

over the records Plaintiffs seek in their FOIA request to OFAC.

       30.     Defendant OMB has possession or control over the records Plaintiffs seek in their

FOIA request to OMB.

       31.     Each Defendant is an “agency” for purposes of 5 U.S.C. § 552(f)(1).

                               PLAINTIFFS’ FOIA REQUESTS

I.     Statutory Framework

       32.     FOIA creates a broad entitlement to public records to promote transparency and

accountability in the federal government.

       33.     “Any person” may request information from an “agency” under FOIA. 5 U.S.C.

§ 552(a)(3)(A).   Under FOIA, a “person” includes “an individual, partnership, corporation,

association, or public or private organization,” other than an agency. 5 U.S.C. § 551(2). “Agency”

means “each authority of the Government of the United States,” subject to certain exceptions not

applicable here, and includes “any executive department . . . or other establishment in the executive

branch of the government.” 5 U.S.C. §§ 551(1), 552(f)(1).



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       34.    Upon receiving a FOIA request, an agency must “make reasonable efforts to search

for” and identify responsive records.     5 U.S.C. § 552(a)(3)(C).     Only in certain limited

circumstances, defined in the statute, may an agency withhold responsive records. 5 U.S.C.

§ 552(b)(1)–(9). These limited circumstances are commonly referred to as “exemptions.”

       35.    Given FOIA’s animating policies of transparency and accountability, there is a

strong presumption in favor of disclosure. The burden on an agency seeking to withhold

responsive records under an exemption is substantial.

       36.    The three Defendants that rendered a determination with respect to Plaintiffs’

requests invoked one or more of the following exemptions:

              a.      Exemption 5 permits an agency to withhold responsive records where the

       records sought consist of “inter-agency or intra-agency memorandums or letters that would

       not be available by law to a party other than an agency in litigation with the agency.”

       5 U.S.C. § 552(b)(5). This exemption protects documents covered by the “deliberative

       process privilege,” which is designed to shield from disclosure certain pre-decisional

       documents that reflect the internal back-and-forth that precedes the adoption of a

       governmental policy.

              b.      Exemption 6 excludes from mandatory disclosure “personnel and medical

       files and similar files the disclosure of which would constitute a clearly unwarranted

       invasion of personal privacy.” 5 U.S.C. § 552(b)(6). FOIA Exemption 6 generally protects

       against disclosure of personally identifying information, such as an individual’s date or

       place of birth, employment history, and the like.

              c.      Exemption 7(A) exempts records “compiled for law enforcement

       purposes” where disclosure of those records “could reasonably be expected to interfere



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       with enforcement proceedings.” 5 U.S.C. § 552(b)(7)(A). Exemption 7(A) does not

       operate to immunize records from disclosure simply because they reside in an investigative

       file. Rather, in order to withhold records pursuant to this Exemption, an agency must

       demonstrate precisely how the disclosure of a particular document or category of

       documents would interfere with a concrete ongoing or prospective enforcement action.

               d.     Exemption 7(C) covers certain records that are “compiled for law

       enforcement purposes” that “could reasonably be expected to constitute an unwarranted

       invasion of personal privacy.” 5 U.S.C. § 552(b)(7)(C). FOIA Exemption 7(C) is designed

       primarily to protect the privacy of suspects, witnesses, and investigators.

       37.     When an agency invokes any of these exemptions, it bears the burden of proving

that the exemption actually applies.     See 5 U.S.C. § 552(a)(4)(B).      The agency’s claimed

application of a particular exemption is subject to de novo review. Id.

       38.     Moreover, because FOIA prohibits the broad, categorical application of statutory

exemptions, an agency must produce “[a]ny reasonably segregable portion” of a responsive record

“after deletion of the portions which are exempt.” 5 U.S.C. § 552(b).

       39.     Consistent with its overall policy imperatives, FOIA imposes precise and strict

deadlines on agencies that are in receipt of FOIA requests. An agency is required to determine

within 20 business days of receiving a FOIA request whether it will comply, and to “immediately

notify the person making such request” of its determination and the reasons for it. 5 U.S.C.

§ 552(a)(6)(A)(i). Only in specific, narrowly defined “unusual circumstances” is the agency

permitted to extend this period, and, except in rare cases, any such extension may not exceed ten

business days. 5 U.S.C. § 552(a)(6)(B)(i).




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       40.     When an agency determines that there are responsive, non-exempt records, it must

then make those records “promptly available” to the requestor. 5 U.S.C. § 552(a)(6)(C)(i).

       41.     When an agency fails to comply with the deadline to respond to a FOIA request,

the requestor is deemed to have exhausted its administrative remedies. At that point, the requestor

has two options: it may sue in federal district court, 5 U.S.C. § 552(a)(6)(C)(i), or it may bring an

administrative appeal, without prejudice to suing later in the event of an unsuccessful appeal. In

the event the requestor opts to file an administrative appeal, the agency’s response to that appeal

is due within 20 business days of its receipt of the appeal. 5 U.S.C. § 552(a)(6)(A)(ii).

       42.     Where an agency complies with the operative deadlines but fails to disclose some

or all of the records sought consistent with its obligations under FOIA, the requestor may file an

agency appeal and then pursue litigation if it disagrees with the determination on appeal. 5 U.S.C.

§ 552(a)(4)(B).

II.    Facts

       43.     On January 28, 2019, EDNY unsealed an indictment (the “Indictment”) charging

Plaintiffs, Ms. Meng, and Skycom Tech Co. Ltd.9 with, among other things, a scheme to defraud

unnamed global financial institutions by misrepresenting facts about Plaintiffs’ business activity

in Iran. Exhibit (“Ex.”) 1, Indictment ¶¶ 11–22, United States v. Huawei Technologies Co., Ltd.,

et al., 18-CR-457 (S-2), unsealed Jan. 28, 2019.10




9
  The government alleges that Skycom Tech Co. Ltd., a company registered in Hong Kong with
operations in Iran, functioned as Huawei Tech’s Iran-based subsidiary. Ex. 1 ¶ 3.
10
   As referenced herein and in Plaintiffs’ FOIA requests, the “Indictment” refers to the second
superseding indictment. On February 13, 2020, EDNY unsealed a third superseding indictment
that realleged the charges in the second superseding indictment and brought additional charges
related to racketeering and intellectual property offenses.



                                                 10
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       44.      The Indictment also charged Plaintiffs and other defendants with substantive

violations of financial sanctions relating to Iran. Ex. 1 ¶ 11. Additionally, it alleged that Plaintiffs

participated in a scheme to misrepresent to another bank the reasons for the termination of

Plaintiffs’ relationship with an unnamed financial institution later revealed to be HSBC,11 Ex. 1

¶ 24, along with related money laundering and obstruction of justice charges, Ex. 1 ¶¶ 53–56.

       45.      On May 1, 2019, Plaintiffs submitted a series of similar FOIA requests to eleven

agencies or components thereof, including all Defendants in this action with the exception of

OMB. Plaintiffs submitted an additional, similar FOIA request to Defendant OMB on September

23, 2019. These requests seek documents relating to, among other things, how U.S.-China trade

relations and the global competition to develop 5G technology may have influenced the

government’s investigation into Plaintiffs and Ms. Meng, and communications between

government officials and press outlets related to Huawei and Ms. Meng. These requests are

attached hereto as Exhibits 2–13.

       46.      In particular, Plaintiffs’ FOIA requests to Defendants included the following:

             a. A request to Commerce (Ex. 2), each of the DOJ Component Defendants (Exs. 3–

                6), OMB (Ex. 7), Treasury (Ex. 8), OFAC (Ex. 9), and USTR (Ex. 10) for

                communications with Reuters journalists pertaining to any Plaintiffs and their

                corporate affiliates or Ms. Meng, including how any disclosures from HSBC or its

                Corporate Compliance Monitor, Michael Cherkasky contributed to the case against

                Huawei or Ms. Meng.




11
  See Karen Freifeld & Steve Stecklow, Exclusive: HSBC probe helped lead to U.S. charges
against Huawei CFO, (Feb. 26, 2019), https://ca.reuters.com/article/topNews/idCAKCN1QF1IA-
OCATP.
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          b. A request to Commerce (Ex. 2), DHS (Ex. 11), each of the DOJ Component

              Defendants (Exs. 3–6), OMB (Ex. 7), the State Department (Ex. 12), Treasury

              (Ex. 8), OFAC (Ex. 9), and USTR (Ex. 10) for communications between the

              relevant agencies and the White House pertaining to the Indictment, the U.S.-China

              trade relationship, and/or 5G technology or competition (with reference to Plaintiffs

              and their corporate affiliates).

          c. A request to Commerce (Ex. 2), DHS (Ex. 11), ICE (Ex. 13), each of the DOJ

              Component Defendants (Exs. 3–6), OMB (Ex. 7), the State Department (Ex. 12),

              Treasury (Ex. 8), OFAC (Ex. 9), and USTR (Ex. 10) for intra-agency

              communications regarding the Indictment.

          d. A request to Commerce (Ex. 2), DHS (Ex. 11), ICE (Ex. 13), each of the DOJ

              Component Defendants (Exs. 3–6), OMB (Ex. 7), the State Department (Ex. 12),

              Treasury (Ex. 8), OFAC (Ex. 9), and USTR (Ex. 10) for communications between

              Congress and the relevant agencies pertaining to Plaintiffs, their corporate

              affiliates, or Ms. Meng.

          e. A request to DHS (Ex. 11), ICE (Ex. 13), each of the DOJ Component Defendants

              (Exs. 3–6), and the State Department (Ex. 12) for communications and materials

              pertaining to former Attorney General Jeff Sessions’s so-called “China Initiative,”

              the primary purpose of which is “identifying and prosecuting those engaged in trade

              secret theft, hacking and economic espionage.”12




12
  The China Initiative is described in former Attorney General Sessions’s China Initiative Fact
Sheet, available at https://www.justice.gov/opa/spech/file/1107256/download.
                                                 12
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             f. A request to Commerce (Ex. 2), each of the DOJ Component Defendants (Exs. 3–

                6), OMB (Ex. 7), the State Department (Ex. 12), Treasury (Ex. 8), OFAC (Ex. 9),

                and USTR (Ex. 10) for communications between the relevant agencies and

                employees of certain telecommunications companies and HSBC pertaining to the

                Indictment or any United States policy pertaining to 5G.

             g. A request to DHS (Ex. 11), ICE (Ex. 13), the DOJ Component Defendants (Exs. 3–

                6), and the State Department (Ex. 12) for communications with certain Canadian

                authorities that participated in the investigation or arrest of Ms. Meng.13

       47.      These requests are primarily aimed at identifying communications that could

indicate improper bases for the prosecution of Plaintiffs and Ms. Meng, such as to interfere with

Plaintiffs’ dominance in the 5G marketplace or strengthen the United States’ position in trade

negotiations with China; impropriety in the development and implementation of the China

Initiative; improper communications between government officials and the press regarding the

investigation of Plaintiffs and Ms. Meng; and/or improper conduct by the U.S. government that

may have infringed on Ms. Meng’s rights under U.S. or Canadian law.

       48.      Given the exceptional media interest in these issues and the fact that they implicate

grave issues of government integrity that potentially affect public confidence in government




13
   Ms. Meng was arrested by Canadian authorities on December 6, 2018 upon an extradition
request from the U.S. Ms. Meng was charged with bank and wire fraud in violation of U.S.
sanctions on Iran. Canadian authorities and U.S. authorities likely coordinated in the arrest of
Ms. Meng, and in December 2019, the British Columbia Supreme Court found that Ms. Meng’s
objections to extradition were substantial enough to warrant compelling the Canadian authorities
to make additional disclosures and require a hearing. United States v. Meng, 2019 BCSC 2137
(Can.).



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institutions, Plaintiffs submitted requests for expedited processing of nine of the twelve FOIA

requests addressed in this Complaint under applicable regulations.14

       49.     In the weeks and months that followed, Plaintiffs worked to obtain responsive

records in a timely manner. Plaintiffs made frequent attempts to contact Defendants and made

good-faith efforts to prioritize their requests in order to facilitate the prompt processing of such

requests.

       50.     Despite these efforts, Plaintiffs have received next to nothing from Defendants.

       51.     With respect to nine of the twelve FOIA requests at issue, the relevant Defendants

have failed to act on Plaintiffs’ FOIA requests. Defendant ICE simply ignored Plaintiffs’ follow-

up communications. Defendants Commerce, DHS, DOJ Leadership, Criminal Division, State

Department, Treasury, OFAC, and OMB have failed to make the “determination” required of them

by statute. Rather than timely search their records and identify records subject to disclosure, these

Defendants have repeatedly claimed that Plaintiffs’ requests are “in process,” even though the

statutory deadlines for their response and “determination” have long passed.

       52.     With respect to the remaining three FOIA requests, the relevant Defendants (NSD,

the FBI, and USTR) have conducted wholly inadequate searches and failed to produce responsive

documents on the basis of FOIA exemptions invoked improperly. At the very least, these

Defendants must conduct a reasonable and adequate search, produce those records that may not be

withheld, and disclose information about the records that have been withheld. They have taken

none of these actions.




14
   No such request was made to the State Department, Treasury, or OFAC because the FOIA
regulations adopted by those agencies do not recognize this basis for seeking expedited processing.
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       53.     Although not required, in connection with nine of their twelve FOIA requests,

Plaintiffs filed a timely administrative appeal with the relevant agency Defendant in an effort to

quickly resolve their claims with Defendants directly. Some of these appeals were denied for

reasons that do not pass legal muster. The others went entirely unanswered.

       54.     As a result, Defendants have violated FOIA by failing to timely respond to

Plaintiffs’ FOIA requests and/or to produce responsive, non-exempt records.

       55.     Plaintiffs have exhausted or are deemed to have exhausted their administrative

remedies with respect to each Defendant, and injunctive relief is appropriate to remedy

Defendants’ failure to promptly release the requested information.

       A.      Non-Responsive Defendants

       56.     DHS, ICE, DOJ Leadership, the Criminal Division, DOJ (as the agency that houses

DOJ Leadership and the Criminal Division), the State Department, OMB, Commerce, Treasury,

and OFAC (collectively, the “Non-Responsive Defendants”) have not issued a determination in

response to Plaintiffs’ FOIA requests.

       57.     All Non-Responsive Defendants have missed their deadline to respond to Plaintiffs’

FOIA requests. All ten of the Non-Responsive Defendants were required to render a determination

on Plaintiffs’ FOIA requests over six months ago; eight of them were required to do so over a year

ago. As such, Plaintiffs’ claims against the Non-Responsive Defendants are ripe for adjudication

under 5 U.S.C. § 552(a)(6)(C)(i).

       58.     Additionally, as to those Non-Responsive Defendants with whom Plaintiffs filed

an optional agency appeal, the Non-Responsive Defendants have either failed to respond entirely

or else informed Plaintiffs that they would not rule on any appeal so long as Plaintiffs’ FOIA

requests remained pending—regardless of whether the statutory deadlines for responding to those

requests had passed.
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       59.     The applicable deadlines and response dates for the Non-Responsive Defendants

are first summarized in the chart immediately below, and are then detailed in the sections of this

Complaint that follow.

          NON-RESPONSIVE DEFENDANTS — Deadlines and Response Dates
 Defendant    FOIA      Response Response Optional Response Response to
 Agency       Request to FOIA    to FOIA  FOIA      to FOIA  FOIA Appeal
              Date      Request  Request  Appeal    Appeal   Received
                        Due      Received Filed     Due
 DHS          May 1,    July 5,  Never    April 3,  June 5,  Never
              2019      2019              2020      202015
 ICE          May 1,    May 30,  Never    Sept. 23, Nov. 26, Never
              2019      2019              2019      201916
 DOJ          May 1,    May 30,  Never    Nov. 5,   Dec. 5,  Mar. 10, 2020
 Leadership   2019      2019              2019      2019     (Refused to
                                                             rule on appeal)
 Criminal     May 1,    May 30,  Never    Dec. 16,  Jan. 15, Jan. 30, 2020
 Division     2019      2019              2019      2020     (Refused to
                                                             rule on appeal)
 State        May 1,    July 17, Never    Nov. 5,   Dec. 5,  Nov. 12, 2019
 Department   2019      2019              2019      2019     (Refused to
                                                             rule on appeal)
 OMB          Sept. 23, April 9, Never    N/A       N/A      N/A
              2019      2020
 Commerce     May 1,    Oct. 22, Never    N/A       N/A      N/A
              2019      2019
 Treasury     May 1,    April 9, Never    N/A       N/A      N/A
 Department   2019      2020
 OFAC         May 1,    May 30,  Never    Dec. 16,  Jan. 15, Jan. 17, 2020
              2019      2019              2019      2020     (Refused to
                                                             rule on appeal)

               1.      DHS

       60.     On May 1, 2019, Plaintiffs submitted their FOIA request to DHS. Ex. 11; supra

¶¶ 45–46.



15
   This reflects the due date for DHS to respond after Plaintiffs’ appeal was remanded to DHS by
the Office of the Administrative Law Judge, DHS, United States Coast Guard.
16
   This reflects the due date for ICE to respond after Plaintiffs’ appeal was remanded to ICE by the
ICE Office of the Principal Legal Advisor.
                                                16
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        61.     On May 3, 2019, DHS requested a list of custodians, terms, and date ranges in order

to help locate records responsive to Plaintiffs’ request.

        62.     On June 6, 2019, in response to that request, Plaintiffs provided search terms,

custodians, and date ranges to DHS.

        63.     Even assuming DHS’s time to respond to Plaintiffs’ FOIA request did not begin

until it received Plaintiffs’ search terms, DHS’s response to Plaintiffs’ FOIA request was due by

July 5, 2019. 5 U.S.C. § 552(a)(6)(A)(ii)(I).

        64.     DHS missed its deadline by failing to respond to Plaintiffs’ FOIA request.

        65.     In the weeks and months that followed submission of its search terms, Plaintiffs

followed up with DHS several times. Specifically, Plaintiffs sent emails on June 20, July 15,

August 16, and September 6, 2019, to inquire about the status of their request.

        66.     Finally, on September 11, 2019, DHS responded to Plaintiffs and advised that while

DHS had located potentially responsive records, it could take three to six months to process

Plaintiffs’ request.

        67.     On October 17, 2019, Plaintiffs followed up again with DHS and requested an

update regarding the timeline for DHS’s overdue production.

        68.     On November 1, 2019, DHS responded it “hope[d]” to be able to process Plaintiffs’

request by the end of 2019.

        69.     On April 3, 2020, having received no further update from DHS, Plaintiffs filed an

administrative appeal pursuant to 5 U.S.C. § 552(a)(6) on the grounds that DHS failed to render a

determination regarding their FOIA request within the time allowed. Ex. 14.

        70.     On May 7, 2020, the Office of the Administrative Law Judge, DHS, United States

Coast Guard, remanded Plaintiffs’ request to DHS for “additional processing.” Ex. 15.



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         71.   DHS was required to respond within 20 business days of remand (i.e., June 5,

2020).

         72.   On August 20, 2020, the Administrative Law Judge, DHS, United States Coast

Guard wrote to Plaintiffs and acknowledged that DHS’s deadline to respond to Plaintiffs’ FOIA

request had passed, and that as such Plaintiffs were entitled to “pursue the appeal in United States

District Court.” Ex. 16.

         73.   To date, no records responsive to Plaintiffs’ request have been released by DHS,

and Plaintiffs have not received any substantive communication regarding the production of

responsive records.

         74.   Plaintiffs are deemed to have exhausted their administrative remedies with respect

to their FOIA request to DHS because DHS has failed to comply with the time limits set forth in

the statute. Accordingly, their claim is ripe for adjudication under 5 U.S.C. § 552(a)(6)(C)(i).

               2.      ICE

         75.   On May 1, 2019, Plaintiffs submitted their FOIA request to ICE. Ex. 13; supra

¶¶ 45–46.

         76.   On May 15, 2019, Plaintiffs received an email from ICE acknowledging receipt of

their FOIA request.

         77.   ICE’s response to Plaintiffs’ FOIA request was due by May 30, 2019.

         78.   ICE missed its deadline by failing to respond to Plaintiffs’ FOIA request.

         79.   In the weeks and months that followed the submission of their FOIA request,

Plaintiffs sent emails on July 8, July 15, August 16, and September 6, 2019, to inquire about the

status of their request and offer to engage in discussions to narrow the requests and facilitate a

timely resolution. Plaintiffs received no response.



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       80.     On September 23, 2019—nearly five months after submitting their FOIA request,

and having received no response at all from ICE—Plaintiffs filed an administrative appeal pursuant

to 5 U.S.C. § 552(a)(6) on the grounds that ICE failed to render a determination regarding their

FOIA request within the time allowed. Ex. 17.

       81.     On October 28, 2019, ICE informed Plaintiffs that, following its review of the

administrative record, it had “determined that a new search(s), or modifications to the existing

search(s), could be made” and that it was “remanding [Plaintiffs’] appeal to the ICE FOIA Office

for processing and re-tasking to the appropriate agency/office(s) to obtain any responsive

documents.” Ex. 18.

       82.     ICE was required to respond within 20 business days of remand (i.e., November

26, 2019). To date, Plaintiffs have received no response to their appeal or further communication

from ICE concerning their FOIA request.

       83.     To date, no records responsive to Plaintiffs’ request have been released by ICE, and

Plaintiffs have not received any substantive communication regarding the production of responsive

records.

       84.     Plaintiffs are deemed to have exhausted their administrative remedies with respect

to their FOIA request to ICE because ICE has failed to comply with the time limits set forth in the

statute. Accordingly, their claim is ripe for adjudication under 5 U.S.C. § 552(a)(6)(C)(i).

               3.     DOJ Leadership

       85.     On May 1, 2019, Plaintiffs submitted their FOIA request to DOJ Leadership. Ex. 3;

supra ¶¶ 45–46.

       86.     That same day, Plaintiffs received an automated electronic notice confirming that

their FOIA request had been submitted.



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       87.     On May 10, 2019, Plaintiffs received a letter acknowledging receipt of their FOIA

request to DOJ Leadership.

       88.     DOJ Leadership’s response to Plaintiffs’ FOIA request was due by May 30, 2019.

       89.     DOJ Leadership missed its deadline by failing to respond to Plaintiffs’ FOIA

request.

       90.     Over the course of July and August 2019, Plaintiffs attempted to follow up on their

FOIA request to DOJ Leadership and exchanged several voicemails with the FOIA analyst

assigned to their request. However, Plaintiffs’ counsel and the FOIA analyst were not able to

connect, and after August 2019 the analyst stopped responding to Plaintiffs’ inquiries.

       91.     To date, no records responsive to Plaintiffs’ request have been released by DOJ

Leadership, and Plaintiffs have not received any substantive communication regarding the

production of responsive records.

       92.     On November 5, 2019—having received no substantive response from DOJ

Leadership for more than six months since submitting their FOIA request—Plaintiffs filed an

administrative appeal with DOJ pursuant to 5 U.S.C. § 552(a)(6) on the basis that DOJ Leadership

had failed to timely respond to Plaintiffs’ request. Ex. 20.

       93.     DOJ was required to respond to Plaintiffs’ appeal by December 5, 2019. DOJ failed

to respond by that deadline.

       94.     On March 11, 2020—more than three months after the deadline—Plaintiffs

received a response from DOJ. Ex. 21. That response advised Plaintiffs that although FOIA

authorizes Plaintiffs to file a lawsuit when, as here, an agency takes longer than the statutory time

period to respond to a request, DOJ regulations provide for an administrative appeal “only after

there has been an adverse determination by a component.” Id. In other words, DOJ advised



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Plaintiffs that so long as their FOIA request to DOJ Leadership remained unanswered, they had no

administrative remedy, and their only recourse was to file a lawsuit.

        95.    To date, no records responsive to Plaintiffs’ request have been released by DOJ

Leadership, and Plaintiffs have not received any substantive communication from DOJ Leadership

regarding the production of responsive records.

        96.    Plaintiffs are deemed to have exhausted their administrative remedies with respect

to their FOIA request to DOJ Leadership because DOJ Leadership has failed to comply with the

time limits set forth in the statute. Accordingly, Plaintiffs’ claim is ripe for adjudication under

5 U.S.C. § 552(a)(6)(C)(i).

               4.      The Criminal Division

        97.    On May 1, 2019, Plaintiffs submitted their FOIA request to the Criminal Division.

Ex. 4; supra ¶¶ 45–46.

        98.    On May 10, 2019, Plaintiffs received a letter acknowledging that the Criminal

Division had received Plaintiffs’ FOIA request.

        99.    The Criminal Division’s response to Plaintiffs’ FOIA request was due by May 30,

2019.

        100.   The Criminal Division missed its deadline by failing to respond to Plaintiffs’ FOIA

request.

        101.   On July 12, 2019, Plaintiffs and the Chief of the FOIA/Public Affairs Unit held a

phone call to discuss the status of the request and whether there was anything Plaintiffs could do

to facilitate the processing of their request. The Chief of the FOIA/Public Affairs Unit advised

Plaintiffs that the Criminal Division would compile a log of responsive documents, which

Plaintiffs could then use to identify the highest priority documents.



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       102.    In the months that followed, Plaintiffs followed up on this conversation by email

on five occasions during September, October, and November 2019, to inquire about the status of

the Criminal Division’s log, and more broadly, Plaintiffs’ FOIA request.

       103.    Despite these repeated inquiries, the Criminal Division failed to produce any kind

of log or otherwise respond substantively to Plaintiffs’ FOIA request. On November 12, 2019, the

Criminal Division informed Plaintiffs via letter that a search for responsive records was “pending.”

       104.    On December 16, 2019—after having received no substantive response to their

FOIA request in the more than seven months since their submission of that request—Plaintiffs

filed an administrative appeal with DOJ pursuant to 5 U.S.C. § 552(a)(6) on the basis that the

Criminal Division had failed to render a determination regarding Plaintiffs’ FOIA request within

the time allowed. Ex. 22.

       105.    DOJ was required to respond to Plaintiffs’ appeal by January 15, 2019. DOJ failed

to respond by that deadline.

       106.    On January 30, 2020, Plaintiffs received a response from DOJ. Ex. 23. That

response advised Plaintiffs that although FOIA authorizes Plaintiffs to file a lawsuit when, as here,

an agency takes longer than the statutory time period to respond to a request, DOJ regulations

provide for an administrative appeal “only after there has been an adverse determination by a

component.” Id. In other words, DOJ advised Plaintiffs that so long as their FOIA request to the

Criminal Division remained unanswered, they had no administrative remedy, and their only

recourse was to file a lawsuit.

       107.    To date, no records responsive to Plaintiffs’ request have been released by the

Criminal Division, and Plaintiffs have not received any substantive communication from the

Criminal Division regarding the production of responsive records.



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       108.    Plaintiffs are deemed to have exhausted their administrative remedies with respect

to their FOIA request to the Criminal Division because the Criminal Division has failed to comply

with the time limits set forth in the statute. Accordingly, Plaintiffs’ claim is ripe for adjudication

under 5 U.S.C. § 552(a)(6)(C)(i).

               5.        The State Department

       109.    On May 1, 2019, Plaintiffs submitted their FOIA request to the State Department.

Ex. 12; supra ¶¶ 45–46.

       110.    Beginning on May 15, 2019, Plaintiffs and the State Department engaged in

discussions via email and phone to develop search terms to more efficiently process Plaintiffs’

request.

       111.    On June 18, 2019, Plaintiffs and the State Department agreed upon a set of priority

search terms. Further, Plaintiffs agreed to split their original FOIA request into two “tiers,”

organized based on the priority of particular search terms, in order to receive documents responsive

to their highest priority requests as soon as possible.

       112.    Even assuming the State Department’s time to respond to Plaintiffs’ FOIA request

did not begin until it had reached an agreement with Plaintiffs regarding search terms, the State

Department’s response to Plaintiffs’ FOIA request was due by July 17, 2019.                 5 U.S.C.

§ 552(a)(6)(A)(ii)(I).

       113.    The State Department failed to respond by that deadline.

       114.    Plaintiffs sent follow-up inquiries to the State Department by email on August 16

and September 6, 2019. On September 17, 2019, the State Department replied with a vague

response advising Plaintiffs that they would be notified of the results of the State Department’s

search and review efforts “as soon as that information becomes available.”



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       115.    On November 5, 2019—having received no substantive response from the State

Department in the nearly five months since agreeing upon priority search terms—Plaintiffs filed

an administrative appeal pursuant to 5 U.S.C. § 552(a)(6) on the ground that the State Department

had failed to render a determination regarding Plaintiffs’ FOIA request within the time allowed

under the statute. Ex. 24.

       116.    On November 12, 2019, the State Department responded and advised Plaintiffs that,

although the State Department had not responded to Plaintiffs’ FOIA request within the applicable

statutory time period and accordingly Plaintiffs were entitled to file suit, Plaintiffs’ FOIA request

was “not subject to administrative appeal at this time, since no specific material has been denied

in response to the request.” Ex. 25. According to the Appeals Officer, there was no “basis for an

administrative appeal of a request that is still being processed.” Id. In other words, so long as

their FOIA request to the State Department remained unanswered, Plaintiffs had no administrative

remedy, and their only recourse was to file a lawsuit.

       117.    To date, the State Department has not released any records responsive to Plaintiffs’

request. Further, Plaintiffs have not received any substantive communication regarding the

processing of their request or the results of the State Department’s search and review efforts since

September 2019.

       118.    Plaintiffs are deemed to have exhausted their administrative remedies with respect

to their FOIA request to the State Department because the State Department has failed to comply

with the time limits set forth in the statute. Accordingly, Plaintiffs’ claim is ripe for adjudication

under 5 U.S.C. § 552(a)(6)(C)(i).

               6.      OMB

       119.    On September 23, 2019, Plaintiffs submitted their FOIA request to OMB, which

included suggested search terms, custodians, and date ranges. Ex. 7; supra ¶¶ 45–46.
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       120.    OMB acknowledged receipt of Plaintiffs’ FOIA request on September 24, 2019.17

       121.    On October 17, 2019, Plaintiffs contacted OMB to ask whether there was anything

they could do to facilitate the processing of the request. OMB responded that it had begun a search

for responsive documents but was still processing Plaintiffs’ request. OMB did not provide an

estimate as to when it expected to be able to produce responsive documents or otherwise render a

determination with respect to Plaintiffs’ request.

       122.    On December 6, 2019, Plaintiffs contacted OMB to follow up on the status of

OMB’s search. On December 18, 2019, OMB responded that the search terms and custodians

Plaintiffs provided had returned many potentially responsive documents and requested Plaintiffs

further narrow their custodian list.

       123.    On March 12, 2020, Plaintiffs submitted a narrowed set of search terms and

custodians to OMB. OMB never responded.

       124.    Even assuming OMB’s time to respond to Plaintiffs’ FOIA request did not begin

until it received Plaintiffs’ narrowed list of custodians, OMB’s response to Plaintiffs’ FOIA

request was due by April 9, 2020.

       125.    OMB missed its deadline by failing to respond to Plaintiffs’ FOIA request.

       126.    To date, no records responsive to Plaintiffs’ request have been released by OMB,

and Plaintiffs have not received any substantive communication from OMB regarding the

production of responsive records.




17
  In what may have been an administrative error, OMB appears to have processed Plaintiffs’ FOIA
request twice, as it confirmed receipt of Plaintiffs’ FOIA request again on September 27, 2019 and
assigned it a different FOIA number.
                                                 25
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        127.    Plaintiffs are deemed to have exhausted their administrative remedies with respect

to their FOIA request to OMB because OMB has failed to comply with the time limits set forth in

the statute. Accordingly, Plaintiffs’ claim is ripe for adjudication under 5 U.S.C. § 552(a)(6)(C)(i).

                7.      Commerce

        128.    On May 1, 2019, Plaintiffs submitted their FOIA request to Commerce. Ex. 2;

supra ¶¶ 45–46.

        129.    Beginning on May 29, 2019, Plaintiffs made several attempts to reach Commerce

to discuss the status of their FOIA request, each of which went unanswered. Specifically, Plaintiffs

contacted Commerce by phone or email on May 29, July 9, and July 15, 2019.

        130.    Finally, Plaintiffs reached Commerce by telephone on September 23, 2019 to

discuss the status of Plaintiffs’ request and any measures they could take to facilitate the prompt

processing of that request. On that call, Plaintiffs informed Commerce that it could use the search

terms Plaintiffs had provided to its sub-component, the Bureau of Industry and Security, in

processing Plaintiffs’ request to Commerce.

        131.    Plaintiffs then contacted Commerce by phone on October 29 and October 31, 2019,

to follow up on the status of their FOIA request. Commerce responded by email on October 31,

2019 and indicated that, despite several months having passed since it received Plaintiffs’ FOIA

request, Commerce was still processing Plaintiffs’ request. On November 5, 2019, Commerce

again advised Plaintiffs that it was still processing their request.

        132.    Even assuming that Commerce’s time to respond to Plaintiffs’ FOIA request did

not begin until it received Plaintiffs’ search terms on September 23, 2020, Commerce’s response

to Plaintiffs’ FOIA request was due by October 22, 2019. 5 U.S.C. § 552(a)(6)(A)(ii)(I).

        133.    Commerce failed to respond by that deadline.



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       134.    To date, Commerce has not released any records responsive to Plaintiffs’ request.

Further, Plaintiffs have not received any substantive communication regarding the processing of

their request or the results of Commerce’s search and review efforts since November 2019.

       135.    Plaintiffs are deemed to have exhausted their administrative remedies with respect

to their FOIA request to Commerce because Commerce has failed to comply with the time limits

set forth in the statute. Accordingly, Plaintiffs’ claim is ripe for adjudication under 5 U.S.C.

§ 552(a)(6)(C)(i).

               8.      Treasury

       136.    On May 1, 2019, Plaintiffs submitted their FOIA request to Treasury. Ex. 8; supra

¶¶ 45–46.

       137.    That same day, Plaintiffs received an automated electronic confirmation that

Treasury had received the request.

       138.    On May 29, 2019, Treasury informed Plaintiffs that their FOIA request would begin

to be processed, but that it would be “several months” before a search would be conducted for

potentially responsive records.

       139.    Beginning on July 9, 2019, Plaintiffs and Treasury engaged in discussions via email

and phone to develop search terms to facilitate the processing of Plaintiffs’ request. On August 2,

2019, Plaintiffs sent Treasury a set of search terms.

       140.    From August 2019 through December 2019, Plaintiffs followed up several times

on the status of their FOIA request. Treasury informed Plaintiffs that there were numerous cases

ahead of theirs in the queue.

       141.    On January 9, 2020, Plaintiffs, Treasury, and OFAC held a conference call to

discuss measures to more efficiently process Plaintiffs’ FOIA requests. Based on that phone call,

Plaintiffs provided revised search terms to Treasury on March 12, 2020.
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       142.    On April 20, 2020, Plaintiffs followed up with Treasury on the status of their

request. Treasury responded that the “program offices” assigned to Plaintiffs’ request had not yet

identified potentially responsive records.

       143.    Even assuming Treasury’s time to respond to Plaintiffs’ FOIA request did not begin

until it received Plaintiffs’ revised search terms, Treasury’s response to Plaintiffs’ FOIA request

was due by April 9, 2020. 5 U.S.C. § 552(a)(6)(A)(ii)(I).

       144.    Treasury failed to respond by that deadline.

       145.    To date, Treasury has not released any records responsive to Plaintiffs’ request.

Further, Plaintiffs have not received any substantive communication regarding the processing of

their request or the results of Treasury’s search and review efforts since March 2020.

       146.    Plaintiffs are deemed to have exhausted their administrative remedies with respect

to their FOIA request to Treasury because Treasury has failed to comply with the time limits set

forth in the statute.   Accordingly, Plaintiffs’ claim is ripe for adjudication under 5 U.S.C.

§ 552(a)(6)(C)(i).

               9.       OFAC

       147.    On May 1, 2019, Plaintiffs submitted their FOIA request to OFAC. Ex. 9; supra

¶¶ 45–46.

       148.    OFAC did not acknowledge receipt of Plaintiffs’ request.18

       149.    OFAC’s response to Plaintiffs’ FOIA request was due by May 30, 2019.

       150.    OFAC missed its deadline by failing to respond to Plaintiffs’ FOIA request.




18
  While OFAC acknowledged receipt of Plaintiffs’ FOIA request to Treasury—which Treasury
had referred to OFAC—OFAC has not, to date, acknowledged Plaintiffs’ request directed to
OFAC specifically.
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       151.    On December 16, 2019, having still received no response from OFAC, Plaintiffs

filed an administrative appeal with OFAC pursuant to 5 U.S.C. § 552(a)(6) on the basis that OFAC

failed to timely respond to Plaintiffs’ request. Ex. 26.

       152.    On January 9, 2020, while Plaintiffs’ agency appeal was pending, OFAC joined a

conference call with Plaintiffs and Treasury to discuss measures to more efficiently process

Plaintiffs’ FOIA requests—even though the deadline to respond to Plaintiffs’ request to OFAC

had long passed.

       153.    On January 17, 2020, OFAC dismissed Plaintiffs’ appeal on the grounds that OFAC

regulations provide for an administrative appeal only after there has been an “initial FOIA

determination” and that “the absence of a response within the time limits specified in the FOIA is

not a basis for filing an administrative appeal.” Ex. 27. In other words, OFAC advised Plaintiffs

that so long as their FOIA request remained unanswered, they had no administrative remedy, and

their only recourse was to file a lawsuit.

       154.    On March 12, 2020, Plaintiffs provided Treasury with search terms in a final effort

to facilitate the processing of its overdue request, which Treasury then passed along to OFAC.

       155.    Even assuming this restarted OFAC’s time to respond to Plaintiffs’ FOIA request,

OFAC’s response to Plaintiffs’ FOIA request was due April 9, 2020.                     5 U.S.C.

§ 552(a)(6)(A)(ii)(I).

       156.    No matter the deadline, OFAC missed its deadline by failing to respond to

Plaintiffs’ FOIA request.

       157.    On July 21, 2020, OFAC informed Plaintiffs that there were still “178 cases

pending” ahead of their request.

       158.    To date, no records responsive to Plaintiffs’ request have been released by OFAC.



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       159.    Plaintiffs are deemed to have exhausted their administrative remedies with respect

to their FOIA request to OFAC because OFAC has failed to comply with the time limits set forth

in the statute.    Accordingly, Plaintiffs’ claim is ripe for adjudication under 5 U.S.C. §

552(a)(6)(C)(i).

       B.      Improper Response Defendants

       160.    In contrast to the Non-Response Defendants, the remaining Defendants—NSD, the

FBI, DOJ (as the agency that houses NSD and the FBI), and USTR (collectively, the “Improper

Response Defendants”)—have rendered determinations on Plaintiffs’ FOIA requests.

Nonetheless, these agencies’ responses have not remotely satisfied their obligations under FOIA,

in substantial part because they have refused to undertake reasonable and adequate searches for

responsive documents, and failed to produce responsive, non-exempt materials.

       161.    Instead, these Defendants improperly asserted categorical exemptions without

meaningful explanation or detail, in violation of FOIA and its corresponding regulations. These

failures are summarized in the chart immediately below, and are then detailed in the sections of

this Complaint that follow.

       162.    Plaintiffs’ administrative appeals of these responses have been summarily and

improperly denied. Accordingly, Plaintiffs’ claims against the Improper Response Defendants are

ripe for adjudication under 5 U.S.C. § 552(a)(4)(B).




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      IMPROPER RESPONSE DEFENDANTS — FOIA Request Determinations
 Defendant  Search Purportedly Basis for    Records Produced
 Agency     Performed          Withholding
                               Responsive
                               Records

 NSD                None                        FOIA exemptions    None
                                                6, 7(A), 7(C)

 FBI                Scope not specified; all    FOIA exemptions    None
                    responsive documents        6, 7(A), 7(C)
                    allegedly located in a
                    single investigative file

 USTR               Ran only initial search     FOIA exemption 5   11 partially redacted pages
                    terms provided



               1.          NSD

       163.    On May 1, 2019, Plaintiffs submitted their FOIA request to NSD. Ex. 5; supra

¶¶ 45–46.

       164.    NSD’s response to Plaintiffs’ FOIA request was due by May 30, 2019. NSD failed

to respond by that deadline.

       165.    On June 3, 2019, NSD sent Plaintiffs an acknowledgement that Plaintiffs’ FOIA

request had been received.

       166.    On June 18, 2019, NSD asserted, without explanation, that any records that NSD

“may have in response to [Plaintiffs’] request are exempt from disclosure” under FOIA Exemption

7(A), 5 U.S.C. § 552(b)(7)(A). Ex. 28 at 2.

       167.    On July 22, 2019, Plaintiffs spoke with the FOIA Officer assigned to Plaintiffs’

request to NSD to inquire about the denial of their FOIA request. During that call, the FOIA

Officer advised Plaintiffs that NSD had not, in fact, performed any search for responsive records,




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based on NSD’s belief that any responsive records would necessarily be withheld under FOIA

Exemption 7(A).

       168.    On September 11, 2019, Plaintiffs filed an administrative appeal with DOJ pursuant

to 5 U.S.C. § 552(a)(6) on the grounds that NSD improperly withheld responsive records and failed

to perform an adequate search. Ex. 29.

       169.    In their appeal, Plaintiffs explained that NSD’s blanket assertion of FOIA

Exemption 7(A) was improper as a matter of law—particularly given NSD’s admitted failure to

undertake any search at all. Id. Plaintiffs asserted that NSD’s conclusion that all responsive

records would necessarily be exempt did not relieve the agency of its burden to undertake a

reasonable search. Id. Moreover, Plaintiffs explained that in order to properly invoke FOIA

Exemption 7(A) on a categorical basis, as NSD purported to do, it was required first to define the

functional categories of the documents it was withholding, review and categorize each, and

demonstrate how the release of each category of documents would interfere with an ongoing

enforcement proceeding. Id. NSD took none of these necessary steps.

       170.    Plaintiffs also pointed out that it was facially implausible that the release of any

responsive records in NSD’s possession would necessarily interfere with an ongoing

investigation—i.e., that all responsive records were subject to FOIA Exemption 7(A). Ex. 29 at

4. In particular, Plaintiffs explained that some of the records sought were communications with

news organizations or related to public DOJ policies—records highly unlikely to fall within

Exemption 7(A). Id. In any event, Plaintiffs contended that it was inconsistent with FOIA for

NSD to presume and then invoke an all-encompassing application of an exemption in lieu of an

actual search for and review of responsive records. Id.




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        171.    Under 5 U.S.C. § 552(a)(6)(A)(ii), DOJ’s response to Plaintiffs’ appeal regarding

their request to NSD was due by October 8, 2019. DOJ failed to respond by this deadline.

        172.    On November 25, 2019, more than a month after the deadline to respond, DOJ

denied Plaintiffs’ appeal. Ex. 30. In particular, it stated that “NSD properly withheld [the

requested] information in full because it is protected from disclosure under” FOIA Exemption

7(A). Id. at 2. To support this conclusion, DOJ stated, in general terms, that it was “reasonably

foreseeable that confirming or denying the existence of such records would harm the interests

protected by” FOIA Exemption 7(A). Id.

        173.    DOJ also stated that it could neither confirm nor deny the existence of documents

responsive to the portions of Plaintiffs’ request seeking records “concerning named third parties”

(which DOJ did not define or identify), supposedly because this could “reasonably be expected to

constitute an unwarranted invasion of personal privacy,” thus triggering FOIA Exemptions 6 and

7(C). Id. at 3. Further, DOJ stated that NSD “conducted an adequate, reasonable search for such

records”—even though, according to NSD’s own statement, it had decided not to perform any

search at all. Id. at 4.

        174.    This type of boilerplate invocation of statutory exemptions is insufficient as a

matter of law. DOJ failed to provide any explanation at all as to why it was “reasonably

foreseeable” that each and every responsive record would harm the interests protected by FOIA

Exemption 7(A). DOJ did not explain which portions of Plaintiffs’ requests triggered the

purported application of FOIA Exemptions 6 and 7(C), or why the purportedly exempt information

could not simply be redacted, consistent with FOIA’s requirement that agencies produce any

“reasonably segregable portion” of a responsive record. 5 U.S.C. § 552(b). Further, DOJ failed




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to address any of Plaintiffs’ arguments concerning the inadequacy of NSD’s search, or otherwise

justify the scope of that search—which, according to NSD, never took place.

       175.    To date, NSD has not released any records responsive to Plaintiffs’ request.

       176.    Plaintiffs have exhausted their administrative remedies with respect to their FOIA

request to NSD, as DOJ issued a final ruling on Plaintiffs’ appeal. Accordingly, their claim seeking

the release of documents under FOIA is ripe for adjudication under 5 U.S.C. § 552(a)(4)(B).

               2.      FBI

       177.    On May 1, 2019, Plaintiffs submitted their FOIA request to the FBI. Ex. 6; supra

¶¶ 45–46.

       178.    On May 22, 2019, Plaintiffs received an acknowledgement that their FOIA request

had been received.

       179.    The FBI’s response to Plaintiffs’ FOIA request was due by May 29, 2019. The FBI

failed to respond by that deadline.

       180.    On June 13, 2019, the FBI informed Plaintiffs that it had completed its search for

records responsive to their request and identified responsive documents, but that all of those

documents were located in an “investigative file” and thus purportedly exempt from disclosure

under FOIA Exemption 7(A). Ex. 31 at 1. The FBI stated that this Exemption applied because

“there is a pending or prospective law enforcement proceeding relevant to these responsive

records, and release of the information could reasonably be expected to interfere with enforcement

proceedings.” Id. at 1. The FBI provided no further detail. Instead, it referred Plaintiffs to an

addendum containing “additional standard responses applicable to [Plaintiffs’] request. Id. The

FBI additionally advised Plaintiffs that their FOIA request was “being administratively closed.”

Id.



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       181.    On July 11, 2019, Plaintiffs responded to inquire about the denial of their FOIA

request and obtain more information about the types of documents contained in the “investigative

file” that the FBI had identified. In response, the FBI refused to provide any further information

about the categories of responsive documents, and instead referred Plaintiffs to the generic

explanations of FOIA Exemption 7(A) contained in the FBI’s earlier letter.

       182.    On September 11, 2019, Plaintiffs filed an administrative appeal with DOJ pursuant

to 5 U.S.C. § 552(a)(6), on the grounds that the FBI improperly withheld responsive records and

failed to perform an adequate search. Ex. 32.

       183.    Plaintiffs’ appeal challenged the FBI’s blanket refusal to produce any responsive

documents on the sole basis that they resided in an “investigative file.” Id. at 3. Plaintiffs argued

that such conclusory explanation for withholding documents was insufficient and that, even if

portions of the responsive documents were subject to FOIA Exemption 7(A), the FBI was required

to produce the non-exempt portions (e.g., redacted documents). Id.

       184.    Plaintiffs also asserted that the FBI’s contention that all responsive documents

resided in a single “investigative file”—even though Plaintiffs’ request covered multiple topics

and categories of communications—raised serious questions about the sufficiency of the FBI’s

search. Id. at 3–4. For example, Plaintiffs pointed out that it was highly unlikely that all records

relating to the DOJ’s China Initiative would be located in a single investigative file, and that that

same file would contain all correspondence with Canadian authorities regarding the arrest of Ms.

Meng. Id. at 4.

       185.    DOJ was required to respond to Plaintiffs’ appeal concerning their FOIA request to

the FBI by October 8, 2019. DOJ failed to respond by this deadline.




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       186.       On November 25, 2019, DOJ denied Plaintiffs’ appeal, stating that “[t]he FBI

properly withheld [the requested] information in full because it is protected from disclosure under

the FOIA pursuant to [FOIA Exemption 7(A)].” Ex. 33 at 2. To support this conclusion, it stated,

in general terms, that it was “reasonably foreseeable that confirming or denying the existence of

such records would harm the interests protected by” FOIA Exemption 7(A). Id.

       187.       DOJ also stated that it could neither confirm nor deny the existence of documents

responsive to the portions of Plaintiffs’ request seeking records “concerning third-party

individuals” (which DOJ did not define or identify), supposedly because this “would constitute a

clearly unwarranted invasion of personal privacy,” thus triggering FOIA Exemptions 6 and 7(C).

Id. Further, it concluded, without explanation, that the FBI’s search was adequate. Id. at 3.

       188.       This type of boilerplate invocation of statutory exemptions is insufficient as a

matter of law. DOJ failed to provide any explanation at all as to why it was “reasonably

foreseeable” that each and every record sought would harm the interests protected by FOIA

Exemption 7(A). DOJ did not indicate which portions of Plaintiffs’ requests triggered the

purported application of FOIA Exemptions 6 and 7(C), or why the purportedly exempt information

could not simply be redacted, consistent with FOIA’s requirement that agencies produce any

“reasonably segregable portion” of a responsive record. And DOJ failed to address any of

Plaintiffs’ arguments concerning the adequacy of the FBI’s search, or otherwise justify the scope

of that search.

       189.       To date, the FBI has not released any records responsive to Plaintiffs’ request.

       190.       Plaintiffs have exhausted their administrative remedies with respect to their FOIA

request to the FBI, as DOJ issued a final ruling on Plaintiffs’ appeal. Accordingly, their claim




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seeking the release of documents under FOIA is ripe for adjudication under 5 U.S.C.

§ 552(a)(4)(B).

                3.      USTR

        191.    On May 2, 2019, Plaintiffs submitted their FOIA request to USTR. Ex. 10; supra

¶¶ 45–46.

        192.    On May 2, 2019, USTR confirmed receipt of Plaintiffs request via email and

indicated that it would provide them with a response on or before May 30, 2019.

        193.    On May 30, 2019, USTR sent an email to Plaintiffs that it described as a “partial

response” to their FOIA request. That email stated that USTR was not able to locate records

responsive to certain portions of Plaintiffs request, and asked for further clarification on other

portions of the request.

        194.    In the weeks and months that followed, Plaintiffs communicated with USTR

regarding search terms for the outstanding portion of their FOIA request. Plaintiffs made clear

that their agreement to provide an initial set of search terms was without waiver of their right to

obtain any and all records responsive to their FOIA requests, whether or not those records were

identified as part of this initial search.

        195.    On September 17, 2019, USTR advised Plaintiffs that its searches pursuant to the

terms provided by Plaintiffs had yielded a total of eleven pages of responsive records. Ex. 34 at

2. Those eleven pages were released to Plaintiffs on the same date. Id. USTR also advised

Plaintiffs that it was closing their FOIA request. Id.

        196.    The eleven pages of released records were redacted in part by USTR, which

claimed that the redacted information was “protected from disclosure under the deliberative

process privilege,” i.e., FOIA Exemption 5. Id. According to USTR, the redacted information

was covered by this privilege because it included “internal government discussions and
                                                 37
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recommendations regarding Huawei and Ms. Meng” which reflected “the personal opinions of the

writers rather than a decision or policy of the agency.” Id.

       197.     On September 25, 2019, Plaintiffs emailed USTR seeking clarification regarding

the results of USTR’s search. In particular, Plaintiffs inquired as to whether USTR had withheld

any documents in full, and whether every search string provided had been in fact been performed.

On October 8, 2019, USTR responded that no documents had been withheld in full and that the

eleven pages of records reflected the results of the broadest set of initial search terms Plaintiffs

had provided.

       198.     On November 5, 2019, Plaintiffs filed an administrative appeal pursuant to 5 U.S.C.

§ 552(a)(6) on the grounds that USTR performed an inadequate search and improperly withheld

material relevant to Plaintiffs’ FOIA request. Ex. 35.

       199.     In particular, Plaintiffs pointed out that it was extremely unlikely that there were no

responsive records at all with respect to the majority of their requests, in light of publicly available

information establishing that USTR has played a leading role in ongoing trade negotiations with

China and that Plaintiffs and their corporate affiliates have been mentioned as part of those trade

negotiations. Id. at 4–5.

       200.     Further, Plaintiffs challenged USTR’s decision to close Plaintiffs’ FOIA request

after performing searches using only the initial set of search terms that Plaintiffs had supplied to

USTR at USTR’s request. Id. at 5. As Plaintiffs explained, these search terms were intended to

assist USTR in prioritizing and refining its search, and did not relieve USTR of its obligation to

perform a complete and thorough search for all potentially responsive documents. Id.

       201.     Moreover, Plaintiffs challenged the application of FOIA Exemption 5, explaining

that USTR failed to meet its burden of demonstrating that this Exemption applies. Id. Specifically,



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Plaintiffs noted that USTR had done nothing to establish that this Exemption applied other than

repeat the language of the statute. Plaintiffs further pointed out that, based on their reasonable

inferences from the unredacted content of the pages USTR had produced, it was unlikely that the

redacted content was covered by FOIA Exemption 5. Id. at 5–6. For example, certain inter-agency

communications that USTR had produced and redacted appeared to explain decisions that had

already been made, which are not subject to the deliberative process privilege embodied in FOIA

Exemption 5. Id.

       202.    USTR’s response to Plaintiffs’ appeal was due on December 6, 2019. USTR failed

to respond by this deadline.

       203.    On December 9, 2019, USTR denied Plaintiffs’ appeal. Ex. 36. It rejected

Plaintiffs’ request that USTR perform additional searches, stating that, in its view, USTR’s search

was adequate. Id. at 2. Additionally, it stated that the majority of the redactions made pursuant to

FOIA Exemption 5 were justified, although it released certain previously redacted information on

two of the eleven pages of records. Id. at 3.

       204.    This boilerplate invocation of Exemption 5 is insufficient as a matter of law. USTR

failed to explain why its withholding of the remainder of material is proper under Exemption 5,

beyond concluding that “the information is both pre-decisional and deliberative in nature, the

release of which would cause foreseeable harm to USTR’s deliberative process.” Id. It failed to

explain why the content withheld was “pre-decisional” or “deliberative” and why it would cause

harm to USTR’s deliberative process if such records were disclosed. Regarding the adequacy of

USTR’s search, USTR failed to address Plaintiffs’ argument that USTR erred in relying solely on

Plaintiffs’ initial proposed search terms, provided to USTR at USTR’s request.




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       205.    Plaintiffs have exhausted their administrative remedies with respect to their FOIA

request to USTR, as USTR issued a final ruling on Plaintiffs’ appeal. Accordingly, their claim

seeking the release of documents under FOIA is ripe for adjudication under 5 U.S.C.

§ 552(a)(4)(B).

               PLAINTIFFS’ REQUESTS FOR EXPEDITED PROCESSING

       206.    In addition to failing to respond appropriately (or at all) to Plaintiffs’ FOIA

requests, Defendants Commerce, DHS, DOJ, OMB, and USTR (collectively, the “Expedited

Processing Defendants”) have failed to accord the requests directed at them or their components

expedited treatment, as required under applicable regulations.

       207.    An agency must process a FOIA request on an expedited basis where the requestor

has demonstrated that the request qualifies for such treatment under FOIA or corresponding

regulations.

       208.    Here, Commerce, DHS, DOJ, OMB, and USTR regulations—which together cover

all the FOIA requests addressed in this Complaint except for the requests to Treasury, OFAC, and

the State Department—each provide for expedited processing of FOIA requests directed at them

or their components that involve matters of widespread and exceptional media interest and raise

possible questions about the government’s integrity which affect public confidence.

       209.    Plaintiffs’ requests for expedited treatment to the Expedited Processing Defendants

demonstrated that Plaintiffs’ FOIA requests easily satisfy this standard. Yet, as summarized in the

chart below, the Expedited Processing Defendants either denied Plaintiffs’ requests for expedited

processing with little or no explanation, or else failed to respond to them at all. Neither set of

outcomes is acceptable.

       210.    Plaintiffs’ claim based on the Expedited Processing Defendants’ express or

constructive denial of their request for expedited processing of their FOIA requests is ripe for
                                                40
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adjudication because each of these Defendants has either taken “action to deny . . . a request for

expedited processing” or “fail[ed] to respond in a timely manner to such a request.” 5 U.S.C.

§ 552(a)(6)(E)(iii).

         EXPEDITED PROCESSING REQUESTS — Deadlines and Responses
 Defendant Applicable         FOIA       Date of    Date of    Explanation of
 Agency    Regulation         Request    Request    Response Denial
                              at Issue   for        to Request
                                         Expedited for
                                         Processing Expedited
                                                    Processing
 Commerce 15 C.F.R.           Commerce May 9,       None       N/A
           § 4.6(f)(1)(iii)   Request    2019
 DHS       6 C.F.R.           DHS        May 9,     None       N/A
           § 5.5(e)(1)(iv)    Request    2019
 DHS       6 C.F.R.           ICE        May 9,     None       N/A
           § 5.5(e)(1)(iv)    Request    2019
 DOJ       28 C.F.R.          DOJ        May 9,     May 10,    Director of Public
           § 16.5(e)(1)(4)    Leadership 2019       2019       Affairs “determined
                              Request               (Denied)   that [Plaintiffs’]
                                                               request for
                                                               expedited
                                                               processing should
                                                               be denied.”
 DOJ       28 C.F.R.          NSD        May 9,     None       N/A
           § 16.5(e)(1)(4)    Request    2019
 DOJ       28 C.F.R.          Criminal   May 9,     May 10,    Director of Public
           § 16.5(e)(1)(4)    Division   2019       2019       Affairs “determined
                              Request               (Denied)   that [Plaintiffs’]
                                                               request for
                                                               expedited
                                                               processing should
                                                               be denied.”
 DOJ       28 C.F.R.          FBI        May 9,     May 23,    Plaintiffs did “not
           § 16.5(e)(1)(4)    Request    2019       2019       provide[] enough
                                                    (Denied)   information
                                                               concerning the
                                                               statutory
                                                               requirements for
                                                               expedition.”
 OMB       5 C.F.R.           OMB        September None        N/A
           § 1303.40(e)(1)(i) Request    23, 2019



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         EXPEDITED PROCESSING REQUESTS — Deadlines and Responses
 Defendant Applicable         FOIA     Date of    Date of    Explanation of
 Agency    Regulation         Request  Request    Response Denial
                              at Issue for        to Request
                                       Expedited for
                                       Processing Expedited
                                                  Processing
 USTR      15 C.F.R.          USTR     May 9,     May 16,    Plaintiffs did “not
           § 2004.6(d)(2)(iv) Request  2019       2019       identify possible
                                                  (Denied)   questions about the
                                                             government’s
                                                             integrity that affect
                                                             public confidence”
                                                             or “explain how
                                                             USTR
                                                             communications
                                                             about Huawei and
                                                             Ms. Meng would
                                                             shed light on these
                                                             types of possible
                                                             questions.”


I.     Statutory and Regulatory Framework

       211.    FOIA requires each agency to promulgate regulations providing for expedited

processing of requests for records “in cases in which the person requesting the records

demonstrates a compelling need” and “in other cases determined by the agency.” 5 U.S.C.

§ 552(a)(6)(E).

       212.    Pursuant to this provision, Commerce, OMB, DHS, and DOJ have promulgated

regulations providing for expedited processing where, inter alia, the request involves “[a] matter

of widespread and exceptional media interest in which there exist possible questions about the

government’s integrity which affect public confidence.” 15 C.F.R. § 4.6(f)(1)(iii) (Commerce),

6 C.F.R. § 5.5(e)(1)(iv) (DHS); 28 C.F.R. § 16.5(e)(1)(iv) (DOJ); 5 C.F.R. § 1303.40(e)(1)(iv)

(OMB).




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       213.    Similarly, USTR regulations state that a FOIA request will be accorded expedited

treatment where “the subject is of widespread and exceptional media interest and the information

sought involves possible questions about the government’s integrity that affect public confidence.”

15 C.F.R. § 2004.6(d)(2)(iv).

       214.    Each of these regulations requires that an agency respond to a request for expedited

processing within 10 days of its receipt thereof. 15 C.F.R. § 4.6(f)(4) (Commerce); 6 C.F.R.

§ 5.5(e)(4) (DHS); 28 C.F.R. § 16.5(e)(4) (DOJ); 15 C.F.R. § 2004.6(d)(3) (USTR); 5 C.F.R.

§ 1303.40(e)(4) (OMB).

       215.    If the agency grants a request for expedited processing, both FOIA and the

corresponding regulations require that the agency process the relevant FOIA request “as soon as

practicable.” 5 U.S.C. § 552(a)(6)(E)(iii) (FOIA); 15 C.F.R. § 4.6(f)(4) (Commerce); 6 C.F.R.

§ 5.5(b), (e)(4) (DHS); 28 C.F.R. § 16.5(b), (e)(4) (DOJ); 15 C.F.R. § 2004.6(d)(3) (USTR);

5 C.F.R. § 1303.40(e)(4) (OMB). Indeed, the regulations each require that FOIA requests subject

to expedited processing be placed in a distinct “processing track” and given priority. 6 C.F.R.

§ 5.5(b), (e)(4) (DHS); 28 C.F.R. § 16.5(b), (e)(4) (DOJ); 15 C.F.R. § 2004.6(d)(3) (USTR);

5 C.F.R. § 1303.40(b)(1)(i) (OMB).

       216.    An agency’s denial or failure to timely respond to a request for expedited

processing is subject to judicial review under 5 U.S.C. § 552(a)(6)(E)(iii), so long as the agency

has not yet provided a complete response to the requestor’s underlying FOIA request, 5 U.S.C.

§ 552(a)(6)(E)(iv). A requestor is not required to file an administrative appeal of an agency’s

denial of expedited processing. 5 U.S.C. § 552(a)(6)(E)(iii).




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II.    Facts

       A.      Plaintiffs’ Requests

       217.    On May 9, 2019, Plaintiffs submitted substantively identical requests to each of the

Expedited Processing Defendants except OMB, consistent with applicable regulations, requesting

that they or their components accord Plaintiffs’ FOIA requests expedited treatment on the ground

that they involve matters of widespread and exceptional media interest in which there exist

possible questions about the government’s integrity which affect public confidence. Exs. 37–40.

Additionally on September 23, 2019, Plaintiffs submitted a substantively identical request to

Defendant OMB for expedited processing of Plaintiffs’ FOIA request to OMB. Ex. 7.

       218.    Collectively, Plaintiffs’ requests for expedited treatment covered nine of the twelve

FOIA requests that give rise to this Complaint.19

       219.    Plaintiffs’ requests for expedited processing were amply supported. Each letter

identified more than 40 news articles from over 20 different publications, including major news

outlets such as CNN, the New York Times, the Washington Post, the Wall Street Journal, CBS

News, ABC News, the BBC, Reuters, NPR, Bloomberg, Forbes, and Politico. Exs. 37–40.

       220.    These articles show that, not only is the level of media interest exceptional, but it

is enduring. The cited articles span nearly six months, from Ms. Meng’s arrest on December 2018

to May 2019.

       221.    Moreover, the reporting raises compelling questions about the government’s

integrity—i.e., regarding the true motivations and object of the government’s prosecution of

Plaintiffs. For example, as explained in Plaintiffs’ submission, both CNN and Reuters reported a




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  As noted supra note 14, Treasury and State do not recognize this basis for granting expedited
processing.
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statement by President Trump that he would intervene in the prosecution of Plaintiffs and

Ms. Meng for a favorable U.S.-China trade deal: “‘If I think it’s good for what will be certainly

the largest trade deal ever made—which is a very important thing—what’s good for national

security—I would certainly intervene if I thought it was necessary.’”20

       222.    In a CNBC article reporting on President Trump’s statement, a legal commentator

explained why President Trump’s statements cast doubt on the government’s integrity: “The

Department of Justice is empowered to enforce federal law fairly, untainted by political or

geopolitical considerations . . . . The suggestion that the Department could—or should—be used

to achieve an objective unrelated to the fair administration of justice erodes public confidence,

both domestically and on a global stage. This is understandable and explains why, historically,

U.S. presidents have carefully refrained from comments of the sort we see increasingly from the

current administration.”21

       223.    Plaintiffs also cited a number of articles addressing the Trump administration’s

efforts to encourage allies not to use Plaintiffs’ 5G equipment, and the Trump administration’s

encouragement of U.S. companies to develop their own 5G capabilities.22




20
   Betsy Klein & Ben Westcott, Trump Expresses Openness to Using Huawei CFO as Bargaining
Chip       in       China      Trade       Talks,     CNN        (Dec.       12,     2018),
https://www.cnn.com/2018/12/12/politics/trump-china-huawei-cfo/index.html; Steve Holland,
Jeff Mason, & Roberta Rampton, Trump says would intervene in arrest of Chinese executive,
Reuters (Dec. 11, 2018).
21
   Kate Fazzini, Huawei CFO Defense Will Center on President Trump's Trade Comments, CNBC
(Mar. 6, 2019), https://www.cnbc.com/2019/03/06/huawei-cfo-defense-will-center-on-president-
trum ps-tradecomments.html.
22
   Brian Fung, How China’s Huawei Took the Lead Over U.S. Companies in 5G Technology,
Wash. Post (Apr. 10, 2019), https://www.washingtonpost.com/technology/2019/04/10/us-spat-
with-huawei-explained/?utm term=.248c0919c161; Brian Fung, 5G Is About to Get a Big Boost
from Trump and the FCC, Wash. Post (Apr. 12, 2019), https://www.washingtonpost.com/techno



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        224.   A review of even a fraction of the many articles Plaintiffs cited in their requests for

expedited processing makes clear they satisfy the standard set forth in the applicable regulations,

and that accordingly, expedited processing is fully appropriate here.

        225.   Media coverage of and interest in the topics that are the subject of Plaintiffs’ FOIA

requests has continued unabated in the months since Plaintiffs filed their requests for expedited

processing, and such coverage continues to raise serious questions about the government’s

integrity.23

        226.   For example, a December 10, 2019, Reuters article reported on a recent decision

from the Supreme Court of British Columbia ordering the production of additional documents in




logy/2019/04/12/g-is-about-get-b i g-boost-trumpfccflutmterm=.bce85b731e88; Yoko Kubota &
Dan Strumpf, China Investigates Ericsson Over Licensing as 5G Competition Heats Up, Wall
Street J. (Apr. 15, 2019), https://www.wsj.com/articles/china-investigates-ericsson-over-
licensing-as-5g-competition-heats-up-11555332158.
23
   See, e.g., Patrick Wintour, Huawei: U.S. Asked for Meng Wanzhou Devices to be Secured at
Arrest,        Court       Hears,        The       Guardian       (Oct.       26,       2020),
https://www.theguardian.com/technology/2020/oct/27/huawei-us-asked-for-meng-wanzhous-
devices-to-be-secured-at-arrest-court-hears; Dan Strumpf and Chuin-Wei Yap, Huawei Accuses
the U.S. of Cyberattacks and Staff Threats, Wall St. J. (Sept. 3, 2019),
https://www.wsj.com/articles/huawei-accuses-the-u-s-of-cyberattacks-threatening-its-employees-
11567500484; Jim Morris & Rob Gillies, Extradition Hearing Begins for Top Huawei Exec in
Canada, U.S News.com (Jan. 20, 2020), https://www.usnews.com/news/business/articles/2020-
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connection with Ms. Meng’s challenge to “her extradition in the Canadian courts on grounds that

the United States is using it for economic and political gain.”24 Although the court did not rule on

the merits of Ms. Meng’s challenge, it observed that she had raised questions “beyond the frivolous

or speculative about the chain of events” leading to her arrest.

        227.    Similarly, a June 2019 article from The Hill reported on statements from U.S.

Senators about the risks of “bargain[ing] away” restrictions on Plaintiffs and their corporate

affiliates and identifying them as “one of few potent levers we have to make China play fair on

trade.”25

        228.    Further, a February 2020 article from the Washington Post reported on comments

made by Attorney General William Barr:

        In his first major speech about China, Barr said the United States and its allies must
        “act collectively” or risk putting “their economic fate in China’s hands.” He
        focused particular ire on Huawei, the world’s largest supplier of 5G telecom gear
        that will power self-driving cars, smart homes, smart transportation systems and
        more . . . . In training his fire on China’s drive to conquer the world market for 5G,
        he was lending his voice to the administration’s push to keep Chinese suppliers out
        of super-fast networks. “If China establishes sole dominance over 5G, it will be
        able to dominate the opportunities arising from a stunning range of emerging
        technologies that will be dependent on, and interwoven with, the 5G platform.”26




24
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        B.      Defendants’ Denials

                1.      Commerce

        229.    On May 9, 2019, Plaintiffs submitted a request to Commerce for expedited

processing of their FOIA request to Commerce. Ex. 37. As described more fully above, the letter

set forth in detail Plaintiffs’ basis for seeking expedited processing of their FOIA request pursuant

to 15 C.F.R. § 4.6(f)(1)(iii), citing numerous articles that demonstrated the exceptional media

interest in the subjects covered by Plaintiffs’ FOIA request and the clear questions of government

integrity that their request implicates.

        230.    Commerce was required to respond to Plaintiffs’ request for expedited processing

within 10 days of its receipt thereof.

        231.    To date, Commerce has failed to respond. As Commerce has failed to respond in a

timely manner, Plaintiffs’ claim for wrongful denial of expedited processing is ripe for

adjudication under 5 U.S.C. § 552(a)(6)(E)(iii).

                2.      DHS

        232.    On May 9, 2019, Plaintiffs submitted a request to DHS for expedited processing of

their FOIA request to ICE. Ex. 38.27 As described more fully above, the letter set forth in detail

Plaintiffs’ basis for seeking expedited processing of their FOIA request pursuant to 6 C.F.R.

§ 5.5(e)(1)(iv), citing numerous articles that demonstrated the exceptional media interest in the

subjects covered by Plaintiffs’ FOIA request and the clear questions of government integrity that

their request implicates.




27
  Consistent with 6 C.F.R. § 5.5(e)(2), this request for expedited processing was sent by letter to
the Senior Director of FOIA Operations at DHS’s Privacy Office, rather than to ICE directly.
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       233.    DHS was required to respond to Plaintiffs’ request for expedited processing within

10 days of its receipt thereof.

       234.    To date, DHS has failed to respond. As DHS has failed to respond in a timely

manner, Plaintiffs’ claim for wrongful denial of expedited processing is ripe for adjudication under

5 U.S.C. § 552(a)(6)(E)(iii).

               3.      DOJ

       235.    On May 9, 2019, Plaintiffs submitted letters to DOJ requesting expedited

processing of their FOIA requests to the DOJ Component Defendants. Ex. 39.28 As described

more fully above, these letters set forth in detail Plaintiffs’ basis for requesting expedited

processing of their FOIA requests pursuant to 28 C.F.R. § 16.5(e)(1)(iv), citing numerous articles

that demonstrated the exceptional media interest in the subjects covered by Plaintiffs’ FOIA

requests and the clear questions of government integrity that their requests implicate.

       236.    DOJ was required to respond to Plaintiffs’ requests for expedited processing within

10 days of its receipt thereof.

       237.    On May 10, 2019, DOJ notified Plaintiffs that their request for expedited treatment

of their FOIA request to the Criminal Division was denied. Ex. 41. The letter did not provide any

explanation for the denial beyond stating that the Director of Public Affairs “has determined that

[Huawei’s] request for expedited processing should be denied.” Id.

       238.    On the very same day, May 10, 2019, DOJ notified Plaintiffs that their request for

expedited treatment of their FOIA request to DOJ Leadership was denied. Ex. 19. This letter also




28
  Each request for expedited processing was submitted by facsimile to the Director of Public
Affairs at DOJ’s Office of Public Affairs, consistent with 28 C.F.R. § 16.5(e)(2).
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provided no explanation for the denial and merely stated that the Director of Public Affairs “has

determined that [Plaintiffs’] request for expedited processing should be denied.” Id.

       239.    On May 23, 2019, Plaintiffs received a letter denying Plaintiffs’ request for

expedited treatment of their FOIA request to the FBI. Ex. 42. The letter provided a vague, one-

sentence explanation, stating merely that Plaintiffs had “not provided enough information

concerning the statutory requirements for expedition.” Id.

       240.    To date, Plaintiffs have received no response concerning their request for expedited

processing of their FOIA request to NSD.

       241.    DOJ’s denials were unexplained and unreasonable. Tellingly, not one of DOJ’s

denial letters engaged in any way with the evidence Plaintiffs provided of media interest and

questions of government integrity—the regulatory basis for Plaintiffs’ requests for expedited

treatment.

       242.    As DOJ has either denied or failed to respond to Plaintiffs’ requests for expedited

processing of their FOIA requests to the DOJ Component Defendants, Plaintiffs’ claim for

wrongful denial of expedited processing of these requests is ripe for adjudication under 5 U.S.C.

§ 552(a)(6)(E)(iii).

               4.      OMB

       243.    On September 23, 2019, Plaintiffs requested expedited processing of their FOIA

request to OMB. Ex. 7.

       244.    As described more fully above, this request set forth in detail Plaintiffs’ basis for

requesting expedited processing of their FOIA request pursuant to 5 C.F.R. § 1303.40(e)(1)(iv),

citing numerous articles that demonstrated the exceptional media interest in the subjects covered

by Plaintiffs’ FOIA request and the clear questions of government integrity that their request

implicates.
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       245.    To date, OMB has failed to respond. As OMB has failed to respond in a timely

manner, Plaintiffs’ claim for wrongful denial of expedited processing is ripe for adjudication under

5 U.S.C. § 552(a)(6)(E)(iii).

               5.      USTR

       246.    On May 9, 2019, Plaintiffs submitted a requested for expedited processing of their

FOIA request to USTR. Ex. 43. As described more fully above, the letter set forth in detail

Plaintiffs’ basis for requesting expedited processing of their FOIA request under 15 C.F.R.

§ 2004.6(d)(2)(iv), citing numerous articles that demonstrated the exceptional media interest in the

subjects covered by Plaintiffs’ FOIA request and the clear questions of government integrity that

their request implicates.

       247.    On May 16, 2019, USTR denied Plaintiffs’ request for expedited processing on the

basis that it did “not identify possible questions about the government’s integrity that affect public

confidence” or “explain how USTR communications about Huawei and Ms. Meng would shed

light on these types of possible questions,” and because Plaintiffs’ request was “the first such FOIA

request related to the EDNY Indictment, the arrest of Ms. Meng, or 5G technology and related

competition since January 20, 2017.” Ex. 43 at 2.

       248.    USTR’s denial was unreasonable, given the sheer volume of media coverage cited

in Plaintiffs’ request for expedited treatment, and the fact that, as discussed above, that media

coverage clearly raised questions about the government’s integrity and the public’s trust in federal

institutions. Indeed, that Plaintiffs’ FOIA request was, in USTR’s view, novel, does not negate

the intense and ongoing media interest in the matters covered in that request.

       249.    As USTR took action to deny Plaintiffs’ request for expedited treatment, Plaintiffs’

claim based on that denial is ripe for adjudication under 5 U.S.C. § 552(a)(6)(E)(iii).



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                            FIRST CAUSE OF ACTION
               FAILURE TO PRODUCE RECORDS IN VIOLATION OF FOIA
                               Against All Defendants

        250.    Plaintiffs incorporate and reallege in full paragraphs 1–249 of this Complaint as if

fully set forth herein.

        251.    Defendants are agencies or components thereof that are required to promptly

disclose responsive records in their possession at the time of a request, 5 U.S.C. § 552(a)(3)(A),

and provide lawful reason for withholding any responsive records as to which they are claiming

an exemption, id. § 552(a)(6)(A)(i).

        252.    Defendants Commerce, DHS, ICE, DOJ Leadership, Criminal Division, DOJ,

OMB, Treasury, OFAC, and State Department have wrongfully withheld agency records requested

by Plaintiffs by failing to comply with the statutory time limit for responding to Plaintiffs’ requests

and/or by failing to order the production of responsive records in response to Plaintiffs’

administrative appeals.

        253.    Defendants NSD, FBI, DOJ, and USTR have wrongfully withheld agency records

by refusing to perform an adequate search for or to release responsive, non-exempt records, and/or

by failing to order the production of responsive records in response to Plaintiffs’ administrative

appeals.    These Defendants have failed to adequately justify the application of particular

exemptions that they claim apply, to provide segregable non-exempt portions of responsive

records, or to provide indices justifying the withholding of any responsive records.

        254.    Injunctive relief is appropriate to remedy Defendants’ failure to release records

responsive to Plaintiffs’ requests.




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                      SECOND CAUSE OF ACTION
     FAILURE TO GRANT EXPEDITED PROCESSING IN VIOLATION OF FOIA
                    Against DHS, DOJ, OMB, and USTR

        255.    Plaintiffs incorporate and reallege in full paragraphs 1–254 of this Complaint as if

fully set forth herein.

        256.    Under applicable agency regulations promulgated pursuant to 5 U.S.C.

§ 552(a)(6)(E), a FOIA request is subject to expedited processing where it involves “a matter of

widespread and exceptional media interest in which there exist possible questions about the

government’s integrity that affect public confidence.” 15 C.F.R. § 4.6(f)(1)(iii) (Commerce); 28

C.F.R. §§ 16.5(e)(1)(iv) (DOJ); 6 C.F.R. §§ 5.5(e)(1)(iv) (DHS); 15 C.F.R. § 2004.6(1)(iii)

(USTR).

        257.    Plaintiffs properly sought expedited processing of their FOIA request to Commerce

by filing a request with Commerce.

        258.    Plaintiffs properly sought expedited processing of their FOIA requests to DHS and

ICE by filing a request with DHS.

        259.    Plaintiffs properly sought expedited processing of their FOIA requests to DOJ

Leadership, the Criminal Division, NSD, and the FBI, by filing a request with DOJ.

        260.    Plaintiffs properly sought expedited processing of their FOIA request to OMB by

filing a request with OMB.

        261.    Plaintiffs properly sought expedited processing of their FOIA request to USTR by

filing a request with USTR.

        262.    Commerce, DHS, DOJ, OMB, and USTR either failed entirely to respond to

Plaintiffs’ request for expedited processing of the corresponding FOIA request(s), or else

summarily denied Plaintiffs’ request.



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        263.    Each Defendant’s denial or constructive denial was unreasonable in light of

Plaintiffs’ clear showing that their request satisfies the standard set forth in the relevant agency

regulations.

        264.    Each Defendant’s denial or constructive denial violates FOIA, 5 U.S.C.

§ 552(a)(6)(E), and Defendants’ corresponding regulations.

        265.    The Court has jurisdiction over this claim because Defendants have not provided

complete responses to any of Plaintiffs’ FOIA requests. 5 U.S.C. § 552(a)(6)(E)(iv).

        266.    Injunctive relief is appropriate to remedy these Defendants’ failures to grant

expedited processing of Plaintiffs’ FOIA requests.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court:

        A.      Order Defendants Commerce, DHS, DOJ, OMB, and USTR to accord Plaintiffs’

FOIA requests expedited processing;

        B.      Order all Defendants to immediately conduct a reasonable search for all responsive

records;

        C.      Order all Defendants immediately to produce any and all non-exempt records or

portions thereof responsive to Plaintiffs’ requests, as well as indices of any records or portions of

records withheld on the basis of a claimed exemption;

        D.      Enjoin all Defendants from improperly withholding records responsive to

Plaintiffs’ request;

        E.      Retain jurisdiction of this action to ensure no agency records are wrongfully

withheld and order all Defendants to disclose any wrongfully withheld records;

        F.      Award reasonable attorneys’ fees and costs under 5 U.S.C. § 552(a)(4)(E); and

        G.      Grant other relief as the Court may deem just and proper.
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Respectfully submitted,


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